Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 1 of 81




United States v. Reality Leigh Winner
                         CR 117-34
Government’s Response to Defendant’s
        Motion to Suppress




Attachment B – Transcript
of Interview of Defendant,
 June 3, 2017 (redacted)
     Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 2 of 81
File Number: ggAT-2173732
                               SECRET//NQFORN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WA1,



                             UNITED STATES DEPARTMENT OF
                              JUSTICE FEDERAL BUREAU OF
                                    INVESTIGATION




   Source File Information
          170603 01.WAV


                               VERBATIM TRANSCRIPTION

   Participants:
            SAG                         Special Agent Justin C. Garrick
            SAT                         Special Agent R. Wallace Taylor
            RW                          Reality Lee Winner
            UM                          Unknown Male




                      SECRET//NQFQRN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
                                                                              USAO-08106
       Case g|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 3 of 81
                                -SE-GRE-T//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 .WA1,



   Abbreviations:
           [PH]                        Phonetic
           [OV]                        Overlapping voices
           [SC]                        Simultaneous conversation
           [UI]                        Unintelligible
           [sic]                       As stated
           [IA]                        Inaudible
          [UM]                         Unknown male




                    SECRET//NOFORN    UN CLAS SIFIED//F OR OFFICIAL USE ONLY
                                                                               USAO-08107
       Case g|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 4 of 81
                               SECRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   AG:        This is my partner W-partner, Wally Taylor.

   SAT:       Hey, how are you?

   RW:        [OV] Hey.

   SAT:       How are you?

   RW:        Good. How you doing?

   SAG:       Good. How's your day today?

              [noises]

   RW:        Uh, it's pretty good. Just got some groceries.

   SAG:       All right.

   SAT:       Let's show you who we are.

   SAG:       Okay, well, the reason we’re here today is that we have a search warrant for your
              house.

   RW:        Okay.

              [noises]

   SAG:       All right. Uh, do you know what this might be about?

   RW:        I have no idea.

   SAG:       Okay. This is about, uh, possible mishandling of classified information.

   RW:        Oh my goodness. Okay.

   SAG:       [OV] Mm-hrnm. So, what we've got is, uh-again, got a warrant. Uhm, and I'm
              happy to show it to you. What I’d like to do is sit down, talk you with a-talk
              with you about it.

   RW:        Mm-hmm.

   SAG:       Kind of go over what-what's going on. Uh, talk to you, kind of get your-your
              side of it. And of course, you-completely voluntary to talk to me. Uhm, we
              can-uh-we can talk here. Uh, our office is about five minutes away. Uh, if you

                      SECRET//NQ-F-ORN       UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                  USAO-08108
       Case^jAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 5 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




              want to-if you'd rather talk there, then we can do either one. It makes no
              difference to me.

   RW:        Okay.

   SAT:       Do you have any pets?

   RW:        I do. I have two pets.

   SAT:       [OV] Because you've been gone awhile, so d-do we need to maybe let them out
              and use the bathroom and stuff like that?

   RW:        [OV] I-I do. Would you mind if I at least get some perishables into the fridge?

   SAT:       [OV] And we can do that too, but what we're going to have to-Is it, do you live
              by yourself?

   RW:        Yes.

   SAT:       Okay. What we're going to have to do is we're going to have to go into the house
              first and make sure it's-ifs safe. We have a-

   RW:        [OV] Absolutely.

   SAT:       -search warrant and so w-we're a-we're going to.

   RW:        Absolutely.

   SAT:       Okay. And what we'll do is we'll keep you out here until we do that-

   RW:        [OV] Uh-huh.

   SAT:       -and once we secure it, we'll, uh-[noise] then we can kind of go from there,
              okay?

   RW:        Of course.

   SAT:       Is your dog friendly?

   RW:        Okay, so she does not like men.

   SAT:       Okay.

   RW:        So.



                      SEGRET//NOFQRN        UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                USAO-08109
       Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 6 of 81
File Number: JUAT-2173732      SECRET//NOFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\



   SAT:       [OV] So that's a problem, [laughs]

   RW:       Uhm.

   SAG:      [laughs]

   RW:        However, and she might, uhm, come towards you.

   SAT:      Okay.

   RW:        She's never bitten anybody. She's not aggressive.

   SAT:      Okay.

   RW:        She's just got, you know, a really good growl going. She'll probably just hide
               under my desk.

   SAG:      Okay.

   SAT:       [OV] Okay. Do you have a-a m-a leash or something where we could-

   RW:        [OV] I have a leash.

   SAT:       [OV] Okay.

   RW:        [OV] I can get her leashed up.

   SAT:       [OV] So what we might want to do is maybe let you go in there with her. And
              you're not to touch anything else, you're not to do anything else but get the dog
               and bring it out here.

   RW:       [OV] Yes, I can do that.

   SAT:      [OV] Are we cool? We-w-

   RW:       [OV] I can move her straight to the backyard.

   SAT:       [OV] Because other-otherwise, if-if we're going to have a problem, we're not
               going to do that.

   RW:        Of course.

   SAT:       [OV] So.




                     SECRET//NQFQRN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08110
       Case |gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 7 of 81
                               SEGRET//NOFQRN
                                                 UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\



   RW:        [OV] I tmderstand.

   SAT:       Okay.

   SAG:       Okay.

   SAT:       Uhm, house key?

   RW:        House key.

              [noise]

   SAT:       We also have a warrant to search the car, too.

   RW:        Yes.

   SAT:       Okay. Do you have a cell phone? [noise] [pause] Okay, [noises] And we'll take
              that and then we'll-uh-we'll kind of go from there, okay?

   RW:        Of course.

   SAT:       Uhm, but like he said, we're-we're completely voluntary, completely up to you
              on. But, you know, I think maybe it-it'd be worth your time to listen at least
              foralittlebit.

   RW:        Definitely. Uhm-

   SAT:       [OV] Okay? And we'll kind of figure out whafs going on.

   RW:        Definitely here to-

   SAT:       [OV] Okay.

   RW:        -uhm, comply.

   SAT:       [OV] Uhm, so why don't we.

   RW:        Her leash is, uh, two feet inside the door where I left it this morning.

   SAT:       [OV] Okay.

   RW:        I can move her straight to the backyard.

   SAT:       [OV] Are there any weapons in the car? In the
               house?

                      SECRET//NQFQRN         UN CLAS SIFIED//F OR OFFICIAL USE ONLY


                                                                                               USAO-08111
      Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 8 of 81
File Number: |gAT-2173732      S-EGRET//NQFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\




   RW:         In the house, yes.

   SAT:        What do you have?

   RW:         I have an AR-15.

   SAT:        Is it pink?

   RW:         It's pink.

   SAT:        Okay.

   RW:         Mow'd you know? [laughs]

   SAT:        [laughs] [background

               noises]

   RW:         Uhm, I have a Clock Nine under the bed.

   SAT:        [OV] Okay.

   RW:         And a-uhm-a 15 gauge.

   SAT:        You sound like my house. Okay.

   SAG:        [OV] Okay.

   SAT:        We're good then.

   SAG:        All right. Just don't make any-any movements for that and then we're-

   SAT:        [OV] And-and-

   RW:         Yeah.

   SAT:        Yeah, I mean, we're all cool.

   SAG:        [OV] Yeah, I mean, kind of
               obvious.

   RW:         Yeah.

   SAG:         [OV] Okay.



                       SECRET//NOFORN          UN CLAS SIFIED//F OR OFFICIAL USE ONLY

                                                                                        USAO-08112
       CaseggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 9 of 81
                              SE€RET//NOFQRN
                                                UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAT:       [O V] You can p-There's a-that little fenced-in area is where you can put
              her?

   RW:        Yes, yes, and you won't even-

   SAT:       [OV] Okay.

   SAG:       [OV] Okay.

   RW:       -y ou-y ou won't take your eyes off of me.

   SAT:       [OV] And we'll get a water. We can get her water and all that kind of stuff, but
              let's-let's-

   S AG:     Yeah, she's going to been in there-

   SAT:       [OV] -let's go ahead and secure her, I think, and then that way-

   SAG:       [OV] Mm-hmm.

   SAT:       -and then maybe we can put some of your stuff in the fridge.

   RW:        Of course.

   SAT:       And then we'll kind of-

   RW:        Yes.

   SAT:       [OV] -we'll go from there, okay?

   SAG:       Okay.

   SAT:       So let's do that.

   SAG:       Good deal.

              [noises]

   SAT:       And this other guy behind-
              uh-

   SAG:       [OV] Go on.

   SAT:       -is with us as well. And we're probably going to have a few more people


                      SEGRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                 USAO-08113
       Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 10 of 81
File Number: |gAT-2173732      SECRETY/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


              showing up here [noise] directly.

   RW:        [OV] Of course.

              [noises]

   SAG:       [coughs]

   RW:        Doo doo doo.

              [noises]

   SAT:       So we're going to get the dog and, uh, bring it out there.

   SAG:       Okay. I got her.

   RW:        All right, girl, let me get your leash. Leash, collar. I know, there's people out
              outside[UI]. Uh, leash, collar.

   SAG:       [laughs]

   SAT:       Is that the only pet?

   RW:        There is a cat. She will go straight under the bed.

   SAT:       [OV] Okay.

                [noises]

   RW:        [OV] Uhm, again-

   SAT:       [OV] Uh-

   RW:        -doesn't like men. Starting to see a trend here.

   UM:        [SC] [in background] All right, coming out here.

   SAT:       [OV] Yeah.

   RW:        Come on girl, [noises]

   SAG:       Hey sweetie. Hey sweetie.

   RW:        Backyard.




                    SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08114
       Case 1:17-cr-00034-JRH-BKE
File Number: ggAT-2173732          Document 189-2 Filed 12/18/17 Page 11 of 81
                               SEGRET//NQFORN
                                                 UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


   UM:        [SC] [in background] Hey, you all come on out. Found her, like three minutes
              ago.

   RW:        Yeah, she knows where we're going. Come here.

   SAG:       [laughs]

   RW:        Come here, honey girl.

   SAG:       What's her name?

   RW:        Nicky [PH],

   SAG:       Hey, Nicky.

   RW:        Nicky girl.

   SAT:        [OV] Hey there. She doesn't know what's going on though.

               [noises]

   RW:        There you go. All right [IA].

               [background conversation]

   SAT:       And you don't have any weapons or anything on you, do you?

   RW:        No.

   SAT:        There's none in the car?

   RW:         Uhm, in the car, no.

   SAT:        Okay, [noises] All right, so, let's, uh, hang on just a second.

   RW:         Can I close the door for my cat?

   SAT:       Yep.

                 [noises]

   RW:         All right, good. That's all I care about right now.

                 [noises]




                     SEGRET//NQFQRN             UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                             USAO-08115
       Case g|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 12 of 81
                               SECRET//NQFQRN
                                                  UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 ,WA\


   SAT:       Okay. Uhm-

   SAG:       [OV] Uhm-

   SAT:       -so the only thing in there now that's alive is the cat?

   RW:        Yes.

   SAT:       There's not a person?

   RW:        No person.

   SAT:       No other dogs? Okay, li-. Uhm, they on their way?

   UM:        They'repullingup.

   SAT:       Okay.

   UM:        All right.

   SAT:       S o why don't we. Probably want to get that stuff in.

   UM:        Yeah.

   SAT:       Can we put most of that in the fridge?

   RW:        Yeah, it's all going to-

   SAT:        [OV] We're not going to have to unpack all the bags and all that kind of stuff.

   UM:        Okay.

   SAT:       Okay, [noises] Why don't we, uh. You want to stay out here with-with her for a
              minute?

   UM:        [OV] Yeah.

   SAT:       And Joe and I will walk through.

   UM:        Okay, [noises] Why don't they just-

   SAT:        [OV] Again, just to explain to you, we have a search warrant. It's-it's-

   RW:        [OV] I understand.




                      SEGRET^NQFQRN           UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                 USAO-08116
       Case^J|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 13 of 81
                               SEGRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


   SAT:       -it's en route. So, uh.

              [noises]

   SAG:      It's all right. Uh, just making sure-just checking to make sure there's nobody
              else in there or nothing-surprise-surprise us or anything like that.

   RW:       Yup.

   SAG:      So.

   RW:        I want to make this as easy for you guys as possible.

   SAG:       Okay. Likewise. So, hopefully, explain things, [noises] get to, uh, figure this all
              out and, uh, wrap it up. [pause] [noises] How long have you had your dog?

   RW:       Uh, she's actually a foster. I'm rehabilitating her so hopefully she can get
             adopted later on. Uhm, she's a rescue. I think I got her in March.

              [noises]

   SAG:      Okay. How-uh-how old is she?

   RW:       Oh, we don't really know.She's one of those.

   SAG:       [OV] Uh, yeah, my-uh-[noises] one of my dogs was a rescue and when-when I
              got him. He wouldn't. Uh, I was the only guy who could touch him.

              [background LA conversation]

   RW:       Mm-hmm.

   SAG:       [OV] And this was-well, probably three years. Anybody else came in the house,
              especially male, he'd pee-

   RW:       [OV] Hmm.

   SAG:       -all over the place. But I could touch him and it was fine, and it's fl-I mean,
              he's seven years old now, he just comes up to everybody. Licks his hand, he's
              great. And so whoever had him before was a real-

   RW:       Mm-hmm.

   SAG:      -uh, was a real piece of work.

   RW:        Oh yeah. She was kept in a kennel and neglected her whole life and...

                    SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                    USAO-08117
       Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 14 of 81
File Number: ^gAT-2173732     SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


              [IA backgrmmd conversation]

   UM:       Hmm.

   UM:       [in background] Yeah, no, if you have to [IA].

   SAT:       All right. Why don't we, uh-let's get those groceries and let's throw them in the
              fridge real quick.

   RW:       Mm-hmm.

   SAT:      And then we'll, uh, bring you back out here, okay?

   RW:       [OV] Yep.

   UM:       [OV] House is cleared.

              [noises]

   RW:       Absolutely.

              [noises]

   UM:       These gloves come in [UI].

   UM:        Yeah. Yeah, [UI] the recorder [UI]. UM:

              [SC] [UI] going to put up pictures [UI].

   UM:       Huh?

   UM:       The recorder [UI].

   UM:       [SC] Yeah, there's some in the back of that, uh-

   UM:       [OV] [UI]

   UM:       [OV] -suburban. [UI]

   UM:       Is that going?

   UM:       [IA]

                [noises]




                    SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08118
       CaseggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 15 of 81
                               SEGRET//NOFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   UM:        No. Then, no, don't worry about it.

                [noises]

   UM:        I'm just looking [UI] real quick.

   UM:        [UI]

   UM:        If you could step over [LA].

   RW:        Yes.

   UM:        And just stop right there [UI],

              [noises]

              [IA background conversation]

   UM:        Yeah, probably [UI],

   UM:        [IA]

   UM:        We're going to [UI] I walked through [UI],

              [IA conversation] [noises]

   UM:        All right. [IA]

              [noises]

   UM:        Sounds like [UI].

   SAT:       Do you want to just throw that in the fridge? And we'll just

   UM:        [OV] [IA]

   SAT:       -throw all these bags in the fridge.

              [noises]

   RW:        Yep.

   UM:        Is that-

   UM:        Got her?


                     SECRET//NOFORN             UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                      USAO-08119
       Case ggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 16 of 81
                               SECRET//NOFORN
                                                UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WA\



   UM:        You got one here.

   UM:        [OV] Yep.

   SAG:       Uh, no, that's it for the perishable. Should be.

   UM:        [OV] Okay.

              [IA background conversation] [noises]

   UM:        [UI] the neighbors [UI].

   UM:        Mm-hmm.

              [noises]

   SAG:       See, it looks like we might be blocked in. Can we borrow your truck keys?

   UM:        What you need?

   SAG:       We're going to be going back to the office, so.

              [background voices]

   UM:        Yeah.

   SAG:       Unless-unless-

   UM:        [OV] [UI]

   SAG:       -we can just move it. [noises] Okay, [noises] All righty.

   SAT:       There's a cat in the house-

   SAT:       In the bed, where-it was on the bed.

   UM:        [OV] -on the bed.

   UM:        Okay.

   SAT:       Or it was on the bed.

   UM:        [OV] It's-




                      SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                          USAO-08120
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 17 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   SAT:       [OV] It'll maybe go under the bed at some point.

   SAG:       And the dog is in the backyard in the fence. Does-does she need water?

              [barking]

   RW:        She'll be fine. She's been inside all day with her water.

   SAG:       Okay. All righty. All right. So, uhm, would you like to talk here or talk-uh-
              talk at the office?

   RW:        Uhm, let's go ahead and talk here.

   SAG:       You want to talk here?

   RW:        Sure.

   SAG:       Okay.

              [background conversation]

   SAG:       Uhm- let's. I'm trying to think if we have any place-uh-uh-in the house
              that-uhm-that we can kind of sit down that's, uh, private. Is there-do you
              have anything there in the house that we can kind of sit that's away? How many
              rooms does your house-

               [noises]

   RW:        [OV] Away? Uhm, so there's one bedroom. I do have a spare bedroom that I
              don't use that's empty. I don't like to go in there. Uhm, I guess I-I don't have
              anything that's completely closed off though-

               [noise]

   SAG:       [OV] Okay.

   RW:        -except for that back room.

   SAG:       Okay, that back room?

   RW:        [OV] Yeah, there's-

   SAG:       [OV] And it's-it's completely empty?

   RW:        Yeah. You'll go in there. There is one dog kennel cage. Other than that, I don't
              use the room.


                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                 USAO-08121
       Case|gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 18 of 81
                               SEGRE-T//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\




   SAG:       Okay. All right. Uh, you said you don't like to go in there. What -

   RW:        Y-It. Oh gosh, it's just creepy. It's just weird. It's like an addition to the house
              behind the kitchen and it's always dirty and__

   SAG:       Okay.

   RW:        [laughs]

   SAG:       Uh, we can talk back there if you're fine going back there. It's, uh-

   RW:        [OV] Yeah, we can go back there.

   SAG:       Okay. All right. We'll take - uh - there's a - there's a back room that's - uh
              uh-we can-

   SAT:       [OV] Kind of like the laundry-

   SAG:       -that she'd like to talk in.

   SAT:       -supposed to be the laundry room?

   RW:        [sighs] I guess so.

              [noises]

   SAT:       Kind of off the kitchen?

   RW:        Yeah.

   SAT:       Okay. Okay, yeah, that'll work.

   SAG:       Okay.

   SAT:       It's too hot out here for-

   SAG:       [OV] Yeah, and we're not going to s-we're not going to make you sit out here­

   RW:        toV] Yeah.
   SAG:       -in the heat.




                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                     USAO-08122
       Case|^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 19 of 81
                               SECRET//NOFORN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 ,WA\




   RW:        I can make a pit stop and bring the A/C down a bit, too, if you guys need that.

   SAG:       [OV] Okay.

   UM:        All right, then.

   SAG:       [OV] Well, what's going to happen is-uh-they'll-uh-they've got to do their
              thing for a minute and then-

   RW:        [OV] Of course. Uh-

   UM:        -we can go in.

   RW:        -do they need me to make sure my car's unlocked?

   UM:        Yes, yes.

   SAG:       [OV] We'll, uh-

   RW:        [OV] Uh, yeah.

   SAG:       -we'll grab the keys and -

   RW:        Okay.

   SAG:       So.

   UM:        Get the password for it.

   SAT:       What's the, uh. How do we open this?

   RW:        Okay. So you, uh-

   SAT:       [OV] Just. Hang on.

   RW:        [OV] -press that. There you go.

   SAT:       Okay.




                      SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                USAO-08123
       Caseg|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 20 of 81
                               SECRET//NOFORN UN CLAS SIFIED//F OR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   UM:        What kind is it? An iPhone?

   SAG:       How long have you lived in Augusta?

   RW:        Uhm, I was here October 2015 to April 2016, uhm, TDY. And then I moved back
              here just past December.

   SAG:       Okay, so you're kind of familiar with the-

   RW:        Familiar, yeah.

   SAG:       Yeah. What do you think of it?

   RW:        I mean, I willingly moved back here as a civilian, so-

   SAG:       [laughs]

   RW:        -it must be all right.

   SAG:       Willingly. You say that-you say that begrudgingly.

   RW:        Yeah, it was pretty much. Uh, NS A Georgia was the only job I could get.

   SAG:       Okay.

   RW:        Yeah. I was having problems getting, uh, the contract I wanted.

   SAG:       What contract were you going for?

   RW:        Uhm, I originally- my big plan is to deploy as a Pashto linguist over-

   SAG:        [OV] Okay.

   RW:        -and be at Baghram for awhile.

   SAG:       Okay.

               [background conversation]

               [vehicle noises]




                      SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                         USAO-08124
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 21 of 81
                              SECRET//NOFQRN
                                                UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WAX




   RW:        Uhm, but then they hired me out here for Farsi, so.

   SAG:       Okay, so you're Farsi and Pashto?

   RW:        Farsi, Dari, Pashto.

   SAG:       Wow. That's impressive.

   RW:        [laughs]

   SAG:       I barely-I'm barely able to speak English.

   RW:        Oh. [laughs]

   SAG:       So.

   RW:        English is hard.

   SAG:       Hmm.

   SAG:       Uh-but. Yeah, I noticed that with-uh-[coughs] especially here in Augusta,
              it's-it's great with-for families, but single, it's kind oftough. Like, I can't
              imagine coming back.

   SAT:       How is this-You've got a password on this or what do you -

   RW:        Uhm, no, there's no password.

   SAT:       [OV] How do we-how do we do it? Show me how to do it, or tell me how to do
              it.

   RW:        Okay.

   SAT:       Swipe that?

   RW:        Yeah.

   SAT:       No security?

   RW:        No security.

   SAT:       Okay.

   RW:        [OV] Yeah, so.



                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                USAO-08125
       CaseggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2UNCLASSIFIED//FOR
                               SECRET//NOFORN      Filed 12/18/17 Page 22 of 81
                                                                    OFFICIAL USE ONLY
Recording Name: 170603 01. WA\




   SAT:        [OV] But you don't have a password or anything that it-

   RW:        [OV] No password, nothing.

   SAT:       Okay.

   RW:        Just, uh, anytime it locks, uhm, you just press until you see, like, a little circle,
              and then you slide just a little bit.

   UM:        [OV] Okay. So it's-

               [noises]

   UM:        Did you already show her the warrant?

   SAG:       Uh, no, I haven't. I was going to-we're going to sit down and show it to her.

   UM:        All right. So we're going to go ahead and go in.

   UM:        Okay.

   UM:        [OV] Yep.

   SAG:        [pause] As soon as they finish the pictures we can go-get out of the gnats.

   RW:        Oh yeah, they're pretty bad.

               [background conversation]

               [vehicle noises]

   SAG:       How long were you in the Air Force?

   RW:        Six years.

   SAG:       Okay.

   RW:        Yeah.

   SAG:       Hmm. What made you get out?




                      SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                      USAO-08126
       Case^JjAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 23 of 81
                               SEGRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WA\




   RW:       Uh, I just-I wanted to deploy. I mean, I learned Pashto for a reason-

   SAG:      Mm-hmm.

   RW:        -but-uhm-that's just-those opportunities aren't there in the Air Force right
              now.

   SAG:      Hmm. You'd figure that with that language, you could-

   RW:       Right? [laughs]

   SAG:      -just raise your hand they'd go, “yeah, go.”

   RW:        Uh, no, where I was in, uh, Maryland, squadron of, like, 450 people, we got one
              billet per year for Afghanistan, and it was all-always airborne. Not even
              language.

   SAG:       And the-so I imagine people were just crawling for it.

   RW:        Oh yeah, and I don't have an airborne physical, so. Yeah.

   SAG:      Hmm. So, Augusta, Georgia it was, huh?

   RW:       Yeah, [laughs]

              [barking]

   UM:        Is your dog okay? Does it need anything?

   RW:       She's fine.

   UM:       She?

   RW:       Yeah. She’s-

   S AG:     [O V] Ifyou can tell, we're all dog people.

   RW:        Oh. [laughs] I know. She's going to have her little anxiety attack.

               [pause]




                    SECRET//NOFORN             UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                             USAO-08127
       Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 24 of 81
File Number: ^gAT-2173732     SECRET//NOFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_0LWA\



   SAG:       Where all were you with the Air Force?

   RW:       Uhm, just right after training, went up to Fort Meade and spent four years there.

   SAG:      That's a long time in Maryland.

   RW:       It is. And there was no opportunity of leaving.

   UM:       I can beat you. You know where my first Air Force assignment was?

   RW:       What?

   UM:       Minot, North Dakota.

   RW:       Oh, nice.

   UM:       Kind of hot like this up there.

   UM:       [laughs]

   UM:       It’s -

   SAT:      For what, a day?

   UM:       [laughs]

   UM:       Yeah, like for an hour, right?

              [laughter]

   UM:       Five o'clock on July 17.

   SAT:      [laughs] Right.

   SAG:       Yeah, I was seven years in DC, and that was about six and a half too long.




                     SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                 USAO-08128
       CaseggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 25 of 81
                               SEGRET//NQFQRN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\




   RW:        Oh, yeah. DC.

              [pause]

   SAG:       They keep asking if I want to go up there. I'm like, “uh, no. No. No, thank you.”
              I'm done with that.

              [barking]

   UM:        She [lA].

              [barking]

   RW:        My poor dog. I just got her acclimated to the backyard again yesterday,

              [laughter]

   RW:        She was boarded all weekend, so. I was out of town.

   SAG:       Oh. Yeah, might-might have to work on acclimation.

   RW:        [laughs]

   SAG:       She's not-probably not going to like the backyard after being forced out
              there for a few hours.

   RW:        [OV] Oh, I know. She gets so anxious. And then we’re, like, off schedule
              because she won't go, and so I'm just like, whatever, we're going inside. And
              then three seconds later she goes on the carpet.

   UM:        Mm-hmm.

   SAG:       Is she destructive at all when she-when you leave her alone?

   RW:        Yes. [laughs] She's just a nervous chewer.




                    SECRET//NOFORN          UN CLAS SIFIED//F OR OFFICIAL USE ONLY

                                                                                                  USAO-08129
       Case^BAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 26 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\



   SAG:       Yeah, my, uh-one of mine, she's fine, you can leave her out all day long, all she
              does is sleep and snore. Shakes the whole house.

   RW:        [laughs] Yeah.

   SAG:       My-uh-my rescue, he is. We-we left him out for probably the first two
              weeks. He destroyed the couch, [noises] Clean through, chewed it. And, uh, three
              Apple power cords. The computer power cords.

   RW:        [groans]

   SAG:       Ninety bucks a pop.

   RW:        Yep.

   SAG:       Yeah. I was-I was thrilled.

   RW:        [laughs]

   SAG:       But. Yeah, turns out he's much, much happier when he's-uh-if we got to go
              away for a little bit, he's in the crate with - as long as the other dog's in there
              with him, then he's fine.

              [pause]

   SAG:       Where do you do CrossFit at?

   RW:        Uhm, right now I'm at SEC. Uhm, they used to be over on Enterprise
              Court -

   SAG:       Mm-hmm.

   RW:        -off of Bobby Jones but we moved. We're over on Wheeler. Uhm, but my
              friend is re-opening the Under Box. Uhm, they merged with SEC, things didn't
              work out, and so now she's going to do her own thing.

   SAG:       Going to go off?

   RW:        Yeah. So I'm just waiting for her gym to open to jump ship, [laughs]




                     SEGRET//NQFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                    USAO-08130
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 27 of 81
                               SECRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:       I did it for like six months, and I hurt myself.

   RW:       Oh.

   SAG:      Just every single day was just pain.

   RW:       Yeah.

   SAG:      So, I don't know. Guess I'm just too old and broken.

   RW:        I mean, I always say I don't do CrossFit. Uhm, I do competitive power lifting.

   SAG:      Okay.

   RW:        And then I do CrossFit when it's convenient, [laughs] But I do love working out
              at a CrossFit gym. You know, the space-you can't beat that.

   SAG:      No, uh-uh.

   RW:        In between classes, I just get free run of the gym.

   SAG:       What's your, uh. So power lifting, what's your-your preference on? What's
              your favorite stuff?

   RW:        I'm just all upper body, so bench. It's kind of sad. I tested all my lifts this week
              because I have a competition on June 24t*1.

   SAG:      Mm-hmm.

   RW:        And bench is 180. Max back squat. I have a back injury, so my max back squat
              is only 195. But I don't, [laughs]

   SAG:      Still-still not shabby.

   RW:       [laughs] They should not be that close, [laughs]

   UM:       Uh, how'd you hurt your back?

   RW:       CrossFit.

   SAG:      Oh.




                     SECRET//NOFQRN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08131
       Case |^AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 28 of 81
                              SEGRET//NOFORN
                                                UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:        Uh, just power cleans. My, uh, pelvis wasn't rotating so I separated that side
              joint.

              [noise]

   SAG:       That sounds painful.

   RW:        Yeah.

   SAG:       I did, uhm- I was doing box jumps, and this hand just-I was doing it by
              myself-hit the box and, I mean, I-I thought I just fractured every bone in the
              body-in the-in the hand. And I went to-I had to go to the doctor to get the-
              getthe X-ray. And they said, “so how'dyou do this?” CrossFit.

   RW:        [noise]

   SAG:       Four times they asked me. Said, no, I didn't get in a fight.

   RW:        [OV] Tchhh.

   SAG:       It's CrossFit.

   RW:        Yeah, I thought I could see the bone on my shin from that one. That's over two
              years old.

   SAG:       Wow. What was that?

   RW:        [OV] Box jrnnp. Just missed the box. [laughs]

   SAG:       Yeah, that's a moment that you really hope did-ah, did anybody see that?
               [noise] I really hope nobody saw that.

   RW:        I got so mad. They're just like, you just threw a handful of chalk on it and then
              you kept going, [laughs]

   SAG:       [snorts] That's commitment, [noise] Oh.

   RW:        So I do have to ask, uhm, just however-

   SAG:       [OV] Mm-hmm.

   RW:        -this goes. I'm not making any assumptions, but is this going to be like a I -




                        SECRET//NOFQRN       UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                  USAO-08132
        Case^|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 29 of 81
                              SECRET//NOFORN   UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




              brought-my-phone-into-the-building-type situation where I don't see that phone
              for three weeks or___

   SAG:      So we'll go over the warrant itself.

   RW:       Okay.

   SAG:      Uhm, so, we do have a warrant for the phone, so.

   RW:       I didn't want to make any assumptions or anything like that, but I am teaching
              yoga tomorrow and phone has music on it.

   SAG:      Okay.

   RW:        [laughs] Uhm-uhm-I could make do. Like, there-there are bigger problems in
              the world, I guess.

   SAG:      Yeah. And we'll-we'll-we'll talk about that once we-once we sit down.

   RW:       [OV] All right.

              [pause]

   SAG:      You have just a few chairs-like kitchen table chairs we can pull into that-uh-
             that back room?

   RW:       [laughs] No, I, uh.

   SAG:       [OV] Or we going to be sitting on the floor?

   RW:        [laughs] Yeah. If you want to sit, yeah, [laughs] I'm not big on furniture.

   SAG:       Okay. Uhm, I wonder if we have a couple of chairs in the -

   UM:        Might be a couple in Chuck's truck.

   SAG:       Might be.

   RW:        Sorry about that.

   SAG:       No.




                     SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                               USAO-08133
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 30 of 81
                               SEGRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\



   SAT:       How long have you been in this house?

   RW:        Uh, moved in [sighs] December IS**1.

              [pause]

   SAG:      Okay. We're good.

   UM:        [SC] Hey, do you have any chairs in your truck? Uh, fold-up chairs.

   RW:       Would it be too much toask if I could try to get the cat on a leash and then tied-

   UM:       [SC] Uhm.

   RW:       -to the bed?

   UM:       [SC] Uhm, I don't remember seeing any. I think they're in the truck.

   RW:       Uh, just so don't-I don't want to be, like, telling someone in the FBI to keep my
             front door closed, if you all are doing a search.

   UM:       [UI]

   SAG:      [OV] Uhm. What's that?

   SAT:      I don't see a problem.

   SAG:      I don't see a-I don't see an issue. Uh-uh-where is the cat right now?

   RW:       On the bed.

   UM:       [OV] In the bedroom, in the bed.

   SAG:      Okay.

   SAT:      [OV] Still in the bed?

   UM:       I think so.

   UM:       Yeah.




                     SECRET//NOFQRN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08134
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 31 of 81
                              SECRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:      Okay, [noises] Yeah, we can do that. Where-uhm-just safety's sake, where are
             the. There's the weapon and the, the-

              [barking]

   RW:       The weapon, it's right by the little table with the lamp, right under the bed.

              [background conversation]

   SAG:       Okay. All right. We can go ahead and go in.

   RW:       Mind if I grab a leash?

   SAG:      Yeah, that's fine.

              [pause]

   UM:       Over here?

   RW:       Yes, right under the bed.

   UM:       The cat's under there.

   UM:       [IA]

   UM:        He's under the bed. Or she's under the bed.

   SAT:      The AR's in this case in here?

   RW:       Yes.

   SAT:      Where's the other gun?

   RW:        It's behind it, more against the wall in a black case.

   SAT:      Okay.




                     SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                              USAO-08135
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 32 of 81
                               SECRET//NQFQRN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   UM:        You mind if [UI]-

   UM:        [OV] Take it.

   UM:        -[UI] ifyougetthe cat?

   UM:        Yep.

   UM:        Okay. Is there anything else in there?

   UM:        The what?

   UM:        Didn't see nothing there.

   UM:        Do you want to get your cat?

   RW:        Yeah. Uh, thank you. [noises] [pause]
              All right, she's good.

   SAT:       Okay. Good enough.

   SAG:       All right.

   SAT:       Want to go back here?

   SAG:       Yeah, you can go ahead and go back in there.

               [conversation in background]

   RW:         Oh, this room is dirty. I'm so sorry.

   SAT:       That's okay.

   SAG:       No, that's fine.




                     SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                    USAO-08136
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 33 of 81
                              SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WA\




   SAT:      Not a problem.

   SAG:      All righty. So, uhm, again, uh, my name's Justin. You probably don't re-
             Remember any idea of who I am. [laughs] So, Justin Garrick with the
             FBI. Uh, this is Wally. He's my partner. Uhm, so what I want to do is
             kind of explain that we, you know, do have a search warrant-you're
             welcome to see the warrant, you're welcome to read the warrant-and
             then explain a little bit about it. Now, if you're willing to talk to me,
             like to go through just kind of how this started and, you know, get your-
             your side of it and figure out what's going on here. Okay. Does that
             sound-sound good to you?

   RW:        Okay.

   SAG:       Okay.

   RW:        Yes.

   SAG:       Uhm, so I'm going to take-uh-right here-I'm going to take-uh-notes
              uh-just random basis. Got to take notes.

              [background conversation]

   SAG:       So, uhm, what is your date of birth?

   RW:

   SAG:       Okay. And your Social?

   RW:

   SAG:       Uh, do you need water or anything? Are you-

   RW:        [OV] I, uhm-

   SAG:       -thirsty? You're what? If you need water, shout it out.

   RW:        Okay. I'll let you know.

   SAG:       [OV] Are you thirsty?

   RW:        Not right now.




                      SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                         USAO-08137
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 34 of 81
                               SECRET//NOFORN
                                                 UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


   SAG:       Okay.

   RW:        Thanks.

   SAG:       All right. Uh, if you need to use the restroom, any of that, let me know. It's not a
              big deal. Okay. And, uh, you've been living at this address here since December.

   RW:        Fifteenth.

   SAG:       Fifteenth of 2016?

   RW:        Yes.

   SAG:       Okay. And where were you bom?

   RW:        Alice, Texas.

   SAG:       Alice like-

   SAT:       Like-

              [background conversation]

   RW:        Like the name, yeah.

   SAG:       [OV] Like the name. Okay. And currently, uh, you're employed as a g-uh-
               contract-uh-linguist with Pluribus?

   RW:        Yes.

   SAG:       Okay. How long have you been employed by them?

   RW:        I started on 9 Febmary 2017.

   SAG:       Okay. And where are you currently assigned?

   RW:        Currently assigned. Like the, uh, NSA 21 code or -

   SAG:       Uh, just-you can-you can tell me the building.

   RW:        Okay.

   SAG:       [OV] Because we have-

   RW:         [OV] White Law Building, second floor.



                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08138
       CaseggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 35 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 .WA\




   SAG:       Okay. So.

   SAT:       I'm sorry, what languages you said? Uhm, I-I heard.

   RW:        Farsi, Dari, Pashto.

   SAT:       Okay.

   SAG:       Okay, [noises] Any other?

   RW:        No.

   SAG:       [laughs] I'm kidding. I think that's enough. That's really impressive. Okay, and
              you live here, uh, by yourself?

   RW:        Yes.

   SAG:       Okay.

              [noises]

   SAG:       Very hard without a table and chairs.

   RW:        I'm so sorry.

              [laughter]

   SAG:       It's - you don't have to apol-it's your house. Uhm, if you-if you do feel
              like, you know, you want to sit or anything like that, we'll sit, okay? You know,
              we can sit on the floor, I don't care. Uhm, if you sit on the floor, I'll sit on the
              floor.

   RW:        Okay, [laughs]

   SAG:       Uh-uhm-and I'm serious about that. Ifyou wantto sit, please, ril-I'll sit
              down too. Uhm, okay. So, uh, again, we have a warrant. Uhm-and it's in-do
              would you like to see it?

   RW:        Yes, please.

   SAG:       Okay.




                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08139
        Case^^AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 36 of 81
                              SECRET//NOFORN UNCLAS SIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




              [pause]

   SAT:       That just gave us the authority to search. It's signed by a federal magistrate
              judge. This attachment, Attachment "A", is just explaining the property where we
              can search. The residence, the car, and then you.

   RW:        Hundred forty-five pounds, you guys flatter me.

   SAT:      [laughs]

   RW:        Sorry. I have a sense of humor.

   SAG:      [laughs]

   SAT:      Okay.

   SAG:       It was on your driver's license.

   SAT:      That's right.

   RW:       Okay, I lied.

   SAT:       Uh, don't we all? So Attachment "B", which is three-four pages-just explains
              the property that we are searching. Not saying all ofthat's here, but that's what
              we're authorized to search for.

   UM:       [SC] [LAI-

   SAT:      And seize.

   UM:        [SC] [UI] You all [UI] laptop right here [UI] so we'll just go ahead and [LA]. Did
              you see where it was?

   UM:       [SC] Yeah.

   UM:       [SC] It's right here. And, uhm, [LA].

              [IA background conversation]

              [pause]




                     SECRET//NOFORN              UNCLAS SIFIED//FOR OFFICIAL USE ONLY

                                                                                                   USAO-08140
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 37 of 81
                              SECRET//NOFORN UN CLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAT:       Any questions about any of that? It's probably still a little confusing to you,
              but.

   RW:        Mm-hmm.

   SAT:       But I think as-as he-we go along, I think maybe some of it will become more
              clear. But just if anything-

   RW:        Mm-hmm.

   SAT:       -sticks out, is there any questions you have about that?

   RW:        No.

   SAT:       Okay.

   SAG:       Okay.

   SAT:       And we’ll leave a copy of this-

   SAG:       Yeah, we'll leave a copy.

   SAT:       [OV] -with you. Uh, this will be your copy.


   SAG:       Okay. So-

   SAT:       [OV] Okay.

   SAG:       -uhm-all this-uh-stems from a report that we received that you had
              mishandled classified information, okay? So, that's, uh, the broad scope ofit
              Uh-my-uh-question is does that-does that ring any bells to you
              whatsoever?

   RW:       It-it does now. When I started working at White Law I had-do you
             know PKI passwords?

   SAG:       Mm-hmm.




                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                USAO-08141
        Case^^AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 38 of 81
                              SECRET7/N0F0RN UN CLAS SIFIED//F OR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:        Uhm, I had a printed-out email in my folder, and I didn't have a desk yet, so I
              took it with me-uhm-passed through security, went to Starbucks, and then
              came back, and they looked through it, and unfortunately the email that I had
              printed out was classified. And they filed a report for that.

   SAG:       And when was that?

   RW:        That was approximately [pause] probably February 15^ or

              16th.

   SAG:       Of this year?

   RW:        Of this year.

   SAG:       So it was part of the PKI certificate?

   RW:        Yes.

   SAG:       And you had gone to Starbucks, come back, and-

   RW:        [OV]

   SAG:       -they checked-they checked a bag or-

   RW:        [OV] Uh, they checked my folder. I was still in processing, so it was just-
              uhm-ifyou're familiar with White Law, you go through the turnstiles just to get
              to the cafeteria and back.

   SAG:       Okay.

   RW:        So yeah, I was-

   SAG:       [OV] So you had-you had gone to the cafeteria?

   RW:        Yeah.
                                                           ■s
   SAG:       So you were in the building and they nabbed you for-

   RW:        [OV] Mm-hmm. Yeah.

   SAG:       Okay. All right. But you're still in the building?


                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                USAO-08142
        Case^^|AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 39 of 81
                              SECRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WA\


   RW:        Uh-huh.

   SAG:       Okay. All right. Uhm, so what-uh-what's your work role there at-
              uh-at White Law?

   RW:        Currently I translate graphic documents, uhm, and then. Yeah, that's all I do.

   SAG:       [OV] Okay.

   RW:        From Farsi to English.

   SAG:       Graphic documents?

   RW:        Yeah.

   SAG:       Okay.

              [pause]

   SAT:       You're assigned to a specific section, I guess, or a group? Is that the way it works
              over there?

   RW:        Yes.

   SAT:       And what is that group or section?

   RW:        [OV] Uhm, it's the Iranian Aerospace Forces Office.

   SAT:       Okay.

   SAG:       Have you been assigned there your entire time there?

   RW:        Yes, since February.

   SAG:       Okay. All right. Uhm, is there any other issues or anything that come to mind
              that might be-might explain [noises] why the report might have been generated?
              Anything that comes to mind-uh-like, eh, it may be this, may be that?

   RW:        No.

   SAG:       No? Yeah. Okay, [pause] Uhm-so-andyou currently hold a TS/SCI




                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08143
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 40 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01.WA\


              clearance?

   RW:        Yes.

   SAG:       Okay. How long have you had that?

   RW:        Uh, I would say since January 2013.

   SAT:       So you had that while you were in the Air Force?

   RW:        Yes.

   SAG:       And you kept it through-through the. Did y ou-wh-I guess when you left-
              uh-left the Air Force, youkept. When did you lea— When did you process
              out ofthe Air Force?

   RW:        Uhm, I processed out of the Air Force, uhm, December-uh-four-December
              14*, uhm, 2016. And, uhm, up until that time, I had been looking at contracts to
              try to get my clearance, uh, renewed.

   SAG:       Okay. And wh-when did-uh-when did-uh-Pluribus pick you up?

   RW:        Pluribus picked me up-I believe they gave me the notification around January
              11*, between 11* or 13*. Around that day.

   SAG:       Okay. All right. So your-uh-your clearance just kind of passed through.

   RW:        Itpassed through, yeah.

   SAG:       Okay. All right. So-uhm-as far as you're aware [noise] you haven't
              committed any security violations or anything you're aware of, other than-than
              this PKI thing?

   RW:        Other than the PKI thing, no. I mean, I-I do print documents at work because,
              uhm, it's just easier for me to translate them by hand.

   SAG:       Mm-hrnm.

   RW:        Butthen I putthem in the box, and then it doesn't getmixed up with, like, my
              class notes that I take, because they're-like-I use pretty paper so I never take
              out white paper.




                     SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                 USAO-08144
        Case^gAT-2173732
File Number:  1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 41 of 81
                                SEGRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording N ame: 170603_01. WA\




   SAG:       Hmm, got it.

   RW:        [OV] Uhm, we all-Because I know that sounds really dumb, but that's just how I
              can do it now. After that stupid PKI thing, I was like, no more white paper out of
              the building.

   SAG:       Okay. So you-you-you said you printed out stuff?

   RW:        [OV] Yeah. I printed out-

   SAG:       [O V] Is there a-

   RW:        stuff.

              [noises]

   SAG:       [OV] -is there a-uh-why did that come to mind as far as security?

   RW:        Uhm, it just. I guess it always-I just think about-uhm-you know-having
              actualpapers. I-I can't imagine any other way to getthings out ofthe building, I
              guess. I'm old-fashioned, so I'm just thinking about that. And especially with the
              PKI thing-uhm-just making sure I didn't accidentally have something in my
              lunchbox or anything like that.

   SAT:       Nothing got out of the building?

   RW:        [OV] Nothing.

   SAT:       [OV] You didn't care anything out of the building?

   RW:        [OV] No. No, I definitely let everything get searched all the time. So, I haven't
              had any other accidents.

   SAG:       Okay. All right. So, as far as anything that. I mean, you're. So with Iranian
              Aerospace, I mean, you're-you're fairly well boxed in, so that's-that's what
              you concentrate on?

   RW:        Yes.

   SAG:       Do you work any other matters? Anything like that?

   RW:        No.




                       SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                   USAO-08145
       Case^BAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 42 of 81
                               SECRET7/N0F0RN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


   SAG:       Okay. So, uh-so you-you certainly-I mean-you have-you have the access
              [noise] and you have the need-to-know on-on, uh, on that aerospace stuff. Have
              you ever inadvertently, either by accident or-or intentionally or whatever-gone
              outside your access of-as far of-or outside your need-to-know on items?

   RW:        Outside of my need-to-know on items. Uhm, I do, from time to time, look at a
              website called My Online, and it is the drone feeds. I used to work a drone
              mission-

   SAG:       Mm-hmm.

   RW:        -so sometimes I'll be in chat with, uhm, my Air Force friends up in Maryland
              and I'll be watching the mission that they're executing.

   SAG:       Okay.

   RW:        Uhm, so it's Afghan stuff. Uhm-and other than that, I mean, just reading basic
              news articles on NSA Net.

   SAG:       Mm-hmm.

   RW:        Uhm-but I've never accessed anything that's, like, [UI].

   SAG:       Okay. Have you ever gone-gone searching for stuff that's not related, uh, to,
              uhm, to your-your work role?

   RW:        No, not unless I have somebody in Maryland ask me a question.

   SAG:       Okay. Uhm-and I mean, you've kind of already answered this-have you ever
              taken anything out of, uh, the NSA facility? I mean, you mentioned the PKI,
              but -

   RW:        Yes.

   SAG:       -outside of that, have you ever taken anything out of the facility?

   RW:        No.

   SAG:       No? Uh, whether it's a piece of paper. Have you downloaded anything?
              Emailed anything out?

   RW:        No.

   SAG:       No? Okay. Mm.




                      SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                USAO-08146
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 43 of 81
                               SECRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




              [pause]

   SAG:       Have you ever, uh, discussed, uh, any classified material with anybody who
              wouldn't have, uh, the prior U.S. government authorization? Who wouldn't have
              the clearance or anything like that? Wouldn't have the clearance and the need-to-
              know?

   RW:        No.

   SAG:       No? Okay.

   RW:        Not many people ask about Iranian aerospace, so I lucked out.

   SAG:       So you never discussed, uh, discussed work or anything classified with
              anybody-

   RW:        [OV] Uh-uh.

   SAG:       -outside of work?

   RW:        No.

   SAG:       [sighs]

              [pause]

   SAT:       How's the neighborhood?

   RW:        I did not look at a map when I signed the lease, uh, but I'm well armed.

   SAG:       [laughs]

   SAT:       You seem to be.

              [laughter]

   SAT:       What are your plans? You going to stay in the house or are you going to move
              somewhere else or -




                    SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08147
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 44 of 81
                              SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:       Uh.

   SAT:       Did you sign a lease, I guess?

   RW:        I signed a lease, and I would only break it if I get a deployment.

              [coughing]

   SAT:      [OV] Yeah.

   RW:       [OV] So.

   SAG:       Mm-hmm. Have you had any issues here, since you moved here?

   RW:       I did, yeah, [laughs]

   SAG:      What happened?

   RW:       Uhm, I came home from a concert in Atlanta. It was about three a.m. and-

              [background conversation]

   RW:        -there was a man on the street, so I was making sure that, you know, he could
              not see me go from my car to the house, [noises] Uhm,and I thought I timed it
              out well. And I'm standing there at the sink getting water and someone starts
              knocking on my door—

   UM:       [OV] Do you have a toothpick?

   SAT:      [OV] Huh?

   RW:        -and-at three a.m and my keys and my phone were right by the door where I
              dropped them, because I had to pee. Uhm, so yeah, [laughs] very glad to have a
              Glock Nine in the back.

   SAG:      Oh. Yeah.

   RW:       [OV] Did not sleep, [laughs]

   SAT:      I'm sure.




                    SECRET//NOFORN             UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                               USAO-08148
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 45 of 81
                              SECRET//NQFORN   UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   SAG:       [OV] Anything other than that?

   RW:        Other than that.

   SAG:       [clears throat]

   RW:        Uhm. No. There's this-people always ask ifyou want your lawn done and
              someone came and mowed my lawn while I was in Belize last weekend. So I'm
              not really cool with that, [laughs]

   SAT:       I imagine not.

   SAG:       [OV] They're probably going to come by and ask for-knock on the door and
              ask to be-

   SAT:       Yeah.

   RW:        [OV] Yeah.

   SAG:       -compensated.

   RW:        Yeah. I mean, he's-

   SAG:       [sneezes]

   RW:        If-if it was the guy I paid last time, he's this little old man, like, in his eighties, so I
               won't be, like, really mad but-

   SAT:       [OV] Right.

   RW:        Yeah.

   SAT:       Right.

   RW:        [laughs]

   SAG:       When-uh-when did you go to Belize?

   RW:        I left on Saturday morning and flew back Monday morning. Just last weekend.

   SAT:       That was a quick trip to Belize.

   SAG:       [OV] Uh, a quick trip.




                       SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                             USAO-08149
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 46 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


   RW:        It was quick, [laughs]

   SAT:       What'd you go down there for?

   RW:        Uhm, I wanted to see the Mayan pyramids.

   SAT:       Okay.

   RW:        And so. Yeah.

   SAT:       That's pretty cool.

   RW:        I didn't have any leave, and I was just tired of waiting for the stars to align, so I
              just said-

   SAT:       [OV] Sure.

   RW:        -you have three days, do it.

   SAG:       [laughs]

   SAT:       That's cool.

   SAG:       Fair enough.

   SAT:       Spur of the moment. That's pretty cool.

   SAG:       Did you go there by yourself or.

   RW:        [OV] Yeah. By myself.

   SAG:       [OV] Okay. Did you do any tours or anything down there?

   RW:        On the first day, they took me to, like, an Alton Hau [PH] tour. So, that's one of
              the sites. And then the second day, we went, uhm, down the river on a boat, and
              we did the Lemani Pyrmaids, and then came back. And then, yeah.

   SAG:       Okay.

   SAT:       Uh-huh.

   SAG:       All right.

   RW:        Saw a bunch of monkeys.




                      SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                      USAO-08150
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 47 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   SAT:       [laughs]

   SAG:       So you're positive you've never printed anything out that was outside of your
              work role?

   RW:        Trying to think.

   SAT:       [clears throat]

   RW:        Because I know. I mean, like, there's NSA Pulse, and every now and then I
              print articles from there like, as scratch paper. Like, it sounds really dumb.
              Like, now that I'm thinking about it, like, the things that I did were really dumb.
              But those always go into the, uhm, the bum bin.

   SAG:       Okay. What kind of articles from Pulse do you pull out?

              [barking]

   RW:        Uhm, usually reference material about, like, |
                   Uhm, just making sure, like, so many references that I keep having to re­
              look up-

   SAG:       [OV] Mm-hmm.

   RW:        -it's just-I'm very textile, so ifit's just, like, right on my desk, I can look at it
              instead of flipping through windows.

   SAT:       Mm-hmm.

   RW:        So that's probably fraud, waste, and abuse right there, [laughs]

   SAG:       Okay.

   RW:        [laughs]

   SAT:       We're not worried about fraud, waste, and abuse.

   RW:        [OV] Okay.

   SAG:       No.

   RW:        I use a lot of paper. Uhm, but nothing outside of, like, Iranian stuff or anything
              else out of that, and never outside of the building.

   SAG:       Okay. Reality, what if I said that I have the information to suggest



                      SECRET//NOFORN          UN CLAS SIFIED//F OR OFFICIAL USE ONLY

                                                                                                      USAO-08151
       CaseJ^AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 48 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


              that you did print out stuff that was outside of that scope?

   RW:        Okay. I would have to try to remember.

   SAG:       Okay. What if, uh, I said that you printed out information related to, uh, reports

              on                                      ?

   SAT:       Reality-uh-you know-we obviously know a lot more than-than what we're
              telling you at this point. And I think you know a lot more than what you're telling
              us at this point. I don't want you to go down the wrong road. I think you need
              to-to stop and think about what you're saying and what you’re doing. Uhm-
              you know-I-I think it's a-an opportunity to maybe tell the truth. Because, uh,
              telling a-telling a lie to an FBI agent is not going to be the right thing.

   RW:        Mm-hmm.

   SAT:       Okay? Uhm, you know-and again, we're here voluntarily. You're talking
              voluntarily. I'm not asking you-forcing you to do anything.

   RW:        Mm-hmm.

   SAT:       But think-that's-that's what I'm asking you to do, is to think. So, think about
              what he just asked.

   RW:        Mm-hmm.

   SAT:       And let, you know.

   RW:                  There was one I printed out because I wanted to read it.

   SAT:       Hmm.

   SAG:       Which one was that? And-

   RW:        [OV] Mm.

   SAG:       -mind the-the sensitivities of the-

   RW:        [OV] Sensitivity.




                    SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                    USAO-08152
        Case^BAT-2173732
File Number: 1:17-cr-00034-JRH-BKE   Document 189-2 Filed 12/18/17 Page 49 of 81
                               SECRET//NQFQRN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01. WA\


   SAG:       Can you remember what day you printed it out?

              [pause]

   RW:        I might mess up the date, but late-late March, early A-first two weeks of April.

   SAG:       First two weeks ofApril?

   SAT:       And what was it?

   RW:        It was a-

              [cough]

   RW:        -it was an NSA Pulse article about

   RW:        And yeah, I did-I did print that one out.

   SAG:       Okay. Uhm, why, uh, why did you print that one out?

   RW:        Uhm, I wanted to read it and Ijust-I-the way I downloaded it, it just was hard
              for me to read and I wanted to just look at it because-it looked like a piece of
              history.

   SAG:       Mm-hmm.

   RW:        You know? Uhm, so I wanted to have that on my desk for, like, a day.

   SAG:       Okay. Did you, uh, how did you find it?

   RW:        Uhm, so when you open up Pulse, it has the-

   SAG:        [clears throat]

   RW:        -uhm, there's a little window at the top right that says, uhm, top articles.

   SAG:       Mm-hmm.

   RW:        And sometimes I scan those. Uhm, I don't know if you saw the one about the
              miniature ponies, but that one was, uh-




                     SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                 USAO-08153
       Case 1:17-cr-00034-JRH-BKE
File Nwnber:^gAT-2173732           Document 189-2 Filed 12/18/17 Page 50 of 81
                              SEGRET//NQFORN   UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   SAG:      I missed that one.

   SAT:      [laughs]


   RW:        Yeah, it was number one for, like, a year, so-

   SAG:       [snorting noise]

   RW:        -obviously I go to check thatnow to make sure any other gems, and then that
              one was right there. And, you know, just-I saw on the news, and I was like, I
              wantto read this. And. Yeah.

   SAG:       Okay. And what did you do with the article?

   RW:        I kept it on my desk for, like, three days. UhmJ'mgoingtobehonest,! read,
              like, halfof it. I don't-it was, like, the stupidest thing ever. And then I bum
              bagged it in the box that's-has a little slat on it by the fridge.

   SAG:       Okay. Uhm, how about any other times?

   RW:        Any other times?

   SAG:       Did you search for anything on the I        any other times?

   RW:        Uhm, that did spark my curiosity and so, like, I just kept tabs on reading those
              articles. Uhm, looking at, uh, the                                           was
              interesting to me.

   SAG:       [OV] Mm-hmm.

   RW:        So I did read s-some of those.

   SAG:       Okay. Did you ever go searching for them? Ever go digging?

   RW:        Uhm, nothing more than, like, a [laughs] a ten-minute detraction from work,
              you know?




                    SECRET//NQFORN             UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                 USAO-08154
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 51 of 81
                               SECRET//NQFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:      [OV] Okay. What, uh, what were you-how would you do it?

   RW:       Uh, just type in the search box,         and then scroll.

   SAG:      Okay. All right. Did you print out any of those articles?

   RW:       Uhm, let me think. No. The-the only one was just the one that was, like,


   SAG:       Okay.

   SAG:       Was it, uh, what was the-talking around it. What was the. And you're pretty
              sure that it was late April, early March? Think about, uh, try to remember, like,
              details in your personal life and-

   RW:        I know, I'm trying to-I remember that week, I got in a fight with the boyfriend
              that week. Uhm, April. Let's see, March, April, [sighs] When did I break up
              with him? [sighs] Maybe we started dating in March, so. It had to have been
              sometime in April. Uhm. [noises] I'm just really going blank on what week
              that was. I'm trying to think what weekend-what the weekend was like after
              that. I'm so sorry. Uhm—

   SAG:       [OV] No. It's okay.

   RW:        [OV] -I'm trying. Uhm. I mean, yeah, mid-April is, like, all I'm thinking.

   SAT:       [clears throat]

   SAG:       Okay. All right. What if I told you that I know that you searched for and
              printed out a document on the ninth of May?




                      SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08155
        CaseJJAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 52 of 81
                              SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:       Ninth of May. [pause] Let's see, the CrossF it competition was on the 12t*1.
             Was it really that late? [pause] Uh, I guess I-I can't argue that. Uhm.

   SAG:       Okay.

   RW:        If you-if you know-I mean-obviously you know. Uhm-

   SAG:       [OV] Okay.

   RW:        I'm just-I-I can't imagine, [sighs] I guess we’re already June already, so yeah.
              It's been a really bad month for me, so.

   SAT:       This would have been three and a half, four weeks ago, roughly.

   SAG:       [OV] Mm-hmm.

   RW:        [OV] Yeah.

              [noises]

   SAG:       Okay. Do you remember what you did to get to that article?

   RW:       Other than either seeing it on the front page or linking it from another. I'm
             just.

   SAG:       Do you remember what search terms you might have put in?

   RW:        Probably                       [laughs] I'm not very sophisticated. Uhm.
              Yeah.

   SAG:       Okay. So, you printed out the document-you printed out a document, uh,
              intelligence report on-on this. You-you do recall that?

   RW:        Yes, I do remember now, yeah.

   SAG:       Okay, [sighs] What did you do with that document?

   RW:        Like I said, I-I kept it on my desk for three days because Ijust-I thought it was
              interesting and I thought I would read it. And then I said no, and I need to not
              leave it out on my desk, so I-




                      SECRET//NOFORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08156
       Case ^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 53 of 81
                               SECRET//NOFQKN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:       [OV] Mm-hmm.

   RW:        -put it in the bum bag.

   SAG:       You put it in the bum bag?

   RW:        [OV] Yeah.

   SAG:       [OV] Okay, where's the bum bag?

   RW:        Okay, so the bum bags are [sighs] in the break rooms and they're this little white
              box with the slat, and it's one over from the fridge.

   SAG:       Okay.

   RW:        In White Law.

   SAG:       So you just-you slide it in there and then-

   RW:        [OV] You slide it in there, yeah.

   SAG:       And then it's taken care of?

   RW:        Yeah.

   SAG:       Okay.

   RW:        It's.

   SAG:       All right. Reality, are you sure that's what you did with it?

   RW:        Yes.

   SAG:       You're positive?

   RW:        Yes.

   SAT:       You didn't take it out of the building?

   RW:        No.




                      SECRET//NOFORN         UN CLAS SIFIED//F OR OFFICIAL USE ONLY

                                                                                                   USAO-08157
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 54 of 81
                              SECRET//NQFORN    UN CLAS SIFIED//F OR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   SAG:        Okay. You didn't take it out of the building and give it to anybody else?

   RW:        No.

   SAG:       You didn't send it?

   RW:        No.

   SAG:        You didn't send it to anyone?

   RW:        No.

   SAG:       Okay.

   SAT:       [sighs]

   SAG:       Reality, uh, can you guess how many people might have printed out that
              document?

   RW:        No.

   SAG:        It's not many. That document has made it outside. Okay? Obviously,
               because we're here.

   RW:        Obviously, yeah. Crap.

   SAG:        The most likely candidate, by far and away, is you. Now, I don't- [sigh]
               -I don't think you are, you know, a big bad master spy, okay? I don't. I don't
               think that. I think that-I've looked at the evidence [noises] and it's compelling.
               Now, I'm not sure why you did it, and I'm curious as to that, but I think you
               might've been angry over everything that's going on, politics-wise. Because you
               can't turn on the-you can't turn on the TV without getting pissed off. Or at least




                        SECRET//NOFORN         UN CLAS SIFIED//F OR OFFICIAL USE ONLY


                                                                                                    USAO-08158
        Case|^AT-2173732
File Number:  1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 55 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


              I can't. And I think you might've made a mistake. Now, why I'm here and why I
              want to talk to you, is to figure out the why behind this, okay? So, I ask you
              again-did you take it out and send it?

   RW:        I didn't. I put it in the bum bag.

   SAT:       [sighs]

   RW:        I mean, I'm trying to deploy. I'm not trying to be a whistleblower. That's crazy.

   SAG:       Hmm. So how would you think that a document would end up getting out?

   RW:        I-I mean, there's-there-I mean, Het's-let's be s-straight-there's little to no
              security on documents. Nobody pats you down.

   SAG:       Mm-hmm.

   RW:        You know, and we talk about it all the time because it's like, oh, I have to show
              my food. Oh, "you eat so healthy," like, every day, you know? A-and people
              about it at work. You've got a building full of geniuses, right? Like just. I guess
              I'm nervous and talking, but no, I mean, the 1-that's the last thing
              I would've wanted to do with that. Especially with, you know, right now, trying to
              get somewhere else, trying to increase my clearance.

   SAG:       Mm-hmm.

   RW:        You know? It was an article on               and it was very sensitive and I
              thought I would be cool if I had it on my desk for a couple days.

   SAG:       Okay. But you remember-you said you remember putting it in the bum-in the
              bum bag? Sliding it in there.

   RW:        Yeah.

   SAG:       Okay.




                      SECRET//N OF ORN        UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08159
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 56 of 81
                              SEGRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   RW:       [OV] Folded in half. I mean, I remember it.

   SAG:      Folded in half?

   RW:       Yeah, uh, it's-it-because it didn't-yeah, I folded it in half.

   SAG:      [sighs] Okay. What if I tell you that that document, folded in half, made its way
              outside of NSA?

              [pause]

   RW:       I don't-I don't know - that.

   SAG:      It made its way-

   SAT:      [clears throat]

   SAG:       -out in an envelope, post-marked Augusta, Georgia. See, things are starting to
              get a little specific.

   RW:       Okay.

   SAG:       It made its way to an online news source that you subscribe to. Getting really
              specific. So, I'm going to ask you again.

              [pause]

   SAG:      What is very, very, very compelling. I'd like to know the reason, because I don't
             think-I don't think you make it a habit out of this at all. At all. I really do. I
             think you just messed up. Now, I'm not quite sure why you did it, and




                     SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08160
       CaseggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2
                              SECRET//NOFORN      Filed 12/18/17 Page
                                               UNCLASSIFIED//FOR      57 of 81USE ONLY
                                                                   OFFICIAL
Recording Name: 170603 01.WA\


               I'd like to hear from you on that, but w-the what and the how is-would you
               agree, looks awfully bad?

   RW:         It looks really bad.

               [pause]                   \

   SAG:        If you're angry about what's going on, if there's something that. Look, you've
               had a good career. You have. If there's something that just pushed you over the
               edge on this, now is the perfect time. This is a podium.

   SAT:        You know, like he said, I-I don't think we're coming in here to say you're some
               big bad mastermind-

   RW:         All right.

   SAT:        -prolific spy kind of thing. I-I think what we both think is that maybe you made
                a mistake. Maybe you weren't thinking for a minute. Maybe you got angry, like
                he said. I mean, that-that's-that's what I'm hoping. If that's-that's the case, then
                that makes us feel a little better knowing that we don't have a-a real serious
                problem here. You know, uh-uh that's something that concerns us, too, this isn't
                an ongoing problem. But we need to figure it out. And if it was a mistake, let's
                deal with it.

               [pause]

   UM:         Is this-is this a room? Is that a room? [UI]

                [background conversation]

   SAG:        So how did you get it out of the office?

   RW:         Folded in half in my pantyhose.

   SAG:        Okay, [sighs] And what did you do with it?




                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                   USAO-08161
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 58 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:        Put it in an envelope and sent it to
   SAT:       Anybody specifically there?

              [pause]

   RW:        I don't think I put a name on it. I just put

   SAT:       Had you communicated with                      prior to you doing that? With -

   RW:        No. I wasn't trying to-wasn't trying to be a Snowden or anything.

   SAT:       And that's what-I don't think you were, either. I really don't. And that's.
              But, uh, I-I think you made a mistake. But I th-th-I don't think either one of us
              think you're trying to be Snowden.

   RW:        No, it was just that one document, because like you said, in



   SAT:       Right. Mm.

   RW:        [OV] The proofthat-you know. And I guess it's just been hard at work
              because. And Tve-Tve filed formal complaints about them having Fox news
              on, youknow? Uh, just at least, for God's sake, put A1 Jazeera on, or a slideshow
              with people's pets. I've tried everything to get that changed.

   SAT:       [OV] That would probably be a good thing. Unfortunately, it doesn't matter side
              you're watching, I think they're all [laughing] pretty bad-

   RW:        [OV] I... Yeah.

   SAT:       -right now, but-

   RW:        [OV] Just.

   SAG:       [OV] Uh.

   SAT:       -I think the pets may be the way to go.




                    SEGRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08162
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 59 of 81
                               SECRET7/N0F0RN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


              [noises]

   RW:        The pets would have been great. Uhm, but just having that every day, and then




   SAT:      [OV] Right.

   RW:       Yeah.

   SAT:       Where did you mail it from?

   RW:        The mailbox is on Bastonne [PH] Road.

   SAT:      Okay.

   RW:        It's in a shopping center with a bank and an Earth Fare grocery store.

   SAT:       Okay. I know where you're talking about.

   RW:        Uhm, intersection of Bastonne [PH] and Furys Ferry.

   SAT:       [OV] Furys Ferry. Okay.

   SAG:      Mm-hmm.

   RW:        I can never say that, Furys Ferry.

   SAT:       And it was just a mailbox sitting out in the middle of the parking lot?

   RW:       Metal box, yeah.

   SAT:      Okay.

   SAG:      [OV] Okay.

   RW:       [OV] And, uhm, it       was-

   SAT:      [OV] Do you remember what day that was?

   RW:       [sighs] What day of the week was the ninth?



                     SECRET//NOFORN          UN CLAS SIFIED//F OR OFFICIAL USE ONLY

                                                                                              USAO-08163
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2 Filed 12/18/17 Page 60 of 81
                              SECRET/ZNOFORN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAT:       [sighs] Let's see, it's-

   SAG:       [OV] We'll check. Do you need some water or something?

              [noise]

   RW:        I would like some water once I find out what day of the week it was.

   SAG:       Okay.

   SAT:       Let's see, I want to say it was. If I can figure out this crazy phone. I want to say
              it was a Tuesday.

   SAG:       [coughs]

   RW:        Tuesday.

   SAT:       It was a Tuesday.

   RW:        Tuesday.

   SAG:       Is there something significant about-

   SAT:       [OV] Uh~

   SAG:       -the ninth in other ways?

   RW:        No. The ninth must have just been the first day I saw it. Uhm. [sighs]

   SAT:       So you.

   RW:        I might've-it-either the 11^1 or the 12*. If I subbed yoga on the night of
              the 11 *, then my yoga studio is right there.

   SAT:       So it would've been Thursday or Friday?

   RW:        Thursday or Friday.

   SAT:       Okay. What yoga studio?




                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08164
       Case ^^AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 61 of 81
                               SECRET//NOFORN UNCLAS SIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:        It's called Oh Yeah Yoga. Uhm-

   SAT:       [OV] Is it where Earth Fare is or is it somewhere else?

   RW:        It's right across the street behind the CVS by the laundromat.

   SAT:       Okay. Okay. There's, like, some limos-

   SAG:       [OV] So-

   SAT:       tO V] -or something, isn't that, there?

   SAG:       [OV] Okay. Yeah.

   RW:        [OV] Yeah.

   SAT:       Yeah.

   SAG:       So, you-you said you mailed it maybe Thursday or Friday?

   RW:        Mm-hmm.

   SAG:       Okay. How did you know to, uh-uh, mail it to

   RW:




   SAG:

   RW:

   SAG:
              this?

   RW:        Yeah.




                      SECRET//NOFORN         UNCLAS SIFIED//FOR OFFICIAL USE ONLY

                                                                                    USAO-08165
        Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 62 of 81
                              SECRET//NQFORN UN CLAS SIFIED//F OR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




              [pause]

   SAT:       Is that the only thing you've sent them?

   RW:        Yeah.

   SAT:       Did you send it anywhere else?

   RW:        No.

   SAT:       No? No other publications or anybody else that you've shown it to or given it to?

   RW:        No.

   SAG:       Is there going to be anything here that we're going to be surprised to find?

   RW:        No. I - [sighs] I never took the document out of my car.

   SAT:       Okay. Is there anything on your phone or your computer?

   RW:        The phone might have a. I don't know if I deleted it, but I'm sure you guys can
              see all of that anyway. It's going to have a screenshot of the address to



   SAG:       Okay.

   SAT:       Okay.

   SAG:       You mentioned you want some water?

   RW:        Yes.

   SAT:       Yeah, why don't we-

   SAG:       [OV] I'll make it. Uh-I'm just going to get somebody out here. Hey, can I

              have somebody in here, please?

   UM:        Uh, yeah.

   SAG:       Uh, do you want a bottle of water? What's-what's your preference?

   RW:        Uhm.


                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                  USAO-08166
       CaseJgAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2
                               SECRET//NOFORN      Filed 12/18/17 Page
                                                 UNCLASSIFIED//FOR     63 of 81USE ONLY
                                                                    OFFICIAL
Recording Name: 170603_01.WA\




   SAG:        Do you have a filter in the fridge, or do you just want tap water?

   RW:         Tap water. There's a glass or a mason jar by the sink.

   SAG:        Okay. Can I get one person to just stand there so I can [IA].

               [background conversation]

   UM:         Do you guys [UI]. I don't think you'll fit in there anymore. She won't fit in there
               anymore.

   SAT:        [laughs] She still under the bed?

   UM:         Huh?

   SAT:        [OV] Cat? Is the cat still under the bed?

   UM:         Oh, she's a big girl.

   SAT:        [laughs]

   RW:         Oh yeah. We're trying.

   SAT:        How old is she?

   RW:          [sighs] She's three years now. Uhm, she's actually on my lease as Queen Latifah.

   SAT:        [laughs]

   RW:         We're trying to get her down to, like, a Beyonce size ten.

   SAT:        [laughs]

   RW:         But girl likes to eat.

   UM:         [OV] Oh yeah.

   RW:         She likes carbs.

   UM:         She's got a little slim fit on her.




                      SECRET//NOFORN                 UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08167
      Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 64 of 81
File Number: |^AT-2173732      SECRET//NOFORN
                                                        UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01. WA\


   SAT:       That's right.

   RW:        [sighs]

   UM:        When she came out, I was like, whoa.

   RW:        Yeah, she will snatch bread right out of my mouth, like—

   SAT:       [OV] Wow.

   RW:        -girl, you don't need those.

   SAT:       [laughs]

   SAG:       Water.

   RW:        Ah. Thanks.

   SAT:       So other than the screenshot on the phone, there shouldn't be anything else? And
              there should be nothing on the laptop?

   RW:        Nothing on the laptop. I do have a TOR browser.

   SAT:       Okay.

   SAG:       [OV] It's a-

   SAT:       [OV] Uhm-

   RW:        [OV] Which probably looks badbutl-

   SAG:        What do you use-what do you use the TOR browser for? [clears throat]

   RW:        Uhm, there was one day when I was interested in WikiLeaks and then I opened it
              up once, I shouldn't have done. I was in between] obs, just had gotten out ofthe
              Air Force-and, uhm, I opened it u-I was at a Starbucks. And it was just. I
              guess I was really underwhelmed. There was just nothing there, [laughs] I was
              like, oh-




                        SECRET//NOFORN       UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                 USAO-08168
       Case ggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 65 of 81
                               SECRET//NOFQRN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   SAG:       [laughs]

   RW:        -1 don't know how you can make use ofthis shit, but okay.

   SAG:       [laughs]

   RW:        Uhm, so yeah, that's why I have a TOR browser on the laptop. I don't think I
              used it again.

   SAG:       Okay.

   RW:        It was just more b-you hear so much about it.

   SAT:       Right.

   RW:        I couldn't help it.

   SAG:       [OV] Oh yeah.

   SAT:       [OV] Most definitely.

   RW:        [OV] Like, soon as I was out of the Air Force was like, that's what I'm going to
              do.

   SAG:       Yeah, it's-

   RW:        [laughs]

   SAG:       -it's am-it's amazing how many people-it's like, I got to go see. Um.

   RW:        [laughs] Yeah. Great.

   SAG:       [OV] The-your computer has a [noises] password on it. Uh, would you mind
              giving us the password?

   RW:        Six seven eight, capital I-N-S-D-E-L.

   SAG:       Okay.

              [pause]

   SAT:       [sighs]




                       SECRET//NOFORN       UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                 USAO-08169
       Case 1:17-cr-00034-JRH-BKE
File Number:^gAT-2173732           Document 189-2 Filed 12/18/17 Page 66 of 81
                               SECRET//NQFQRN
                                                UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 ,WA\


   SAG:       Have you had any contact with anyone from                     Have you tried to
              reach out?

   RW:        No. X. Yeah, itjust, [sighs] Li-like you said, I just, I-I saw the article and

              was like, I don't understand why this isn't a thing. And it-Ijust—

   SAT:       [OV] It made you mad.

   RW:        It made me very mad, and-

   SAT:       [OV] Sure.

   RW:        -it's right there. Uhm, and I don't care about. I-Ijust-I guess I didn't care
               about, like, myself at that point, andjust. Yeah, [noises] I guess. Yeah, I
               screwedup royally.

   SAG:       Well, [sighs] [noises] that, uhm, like I said before, I don't-I don't see you-I
              believe you when you say that you didn't take anything else. I do. I think you
              made a mistake.

   RW:        Mm-hmm. Y eah. Uhm-

   S AG:      [OV] Has-have you ever-before you were here, when you were. Uhm.
              Actually, this wasn't necessarily before you were here. It depends on your TDY.
              Uh, wherever you. Like, where did you finish up in the Air Force? Like in
              November of this past year.

   RW:        In November when I out-processed, I was up in Fort Meade.

   SAG:       Okay. Uhm. Did you ever have any-do anything with a thumb drive?

   RW:        Mm. [sighs]

              [background conversation]

   RW:        Thumb drive, [sighs]

   SAG:       Shortly before you left?

   RW:        Shortly before I left, [sighs] [pause] Yeah, I was curious to see what would
              happen and the administrator thing popped up, and I was like, okay, whatever,
              and then threw the dumb thumb drive away.

   SAG:       Okay, so you-you put a thumb drive into one of the computers?



                    SECRET//NOFORN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                USAO-08170
       Case^BAT-2173732
File Number. 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 67 of 81
                              SECRET//NQFQRN
                                                UN CLAS S1FIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   RW:        Mm-hmm.

   SAG:       What was the classification on the computer?

   RW:        It was Secret.

   SAG:       It was a Secret computer?

   RW:        Yeah.

   SAG:       Okay. Uhm, w-.. You said you were curious. Why were you curious?

   RW:        I guess I wanted to see how people were getting unclass pictures onto the high
              side. Like, I thought I would figure it out.

   SAG:       You-you guess or?

   RW:        [laughs]

   SAG:       I mean—

   RW:        Yeah.

   SAG:       You're equivocating on that. So-so. Because you were just about to leave, so
              what's the point of-

   RW:        [OV] I've-

   SAG:       -plugging a thumb drive in a computer? You see where I'm going with this?

   RW:        Yeah. I j ust. Yeah, I figured if there was a day to try to figure that out, I

              mean. Yeah. But.

   SAG:       Did you put anything onto the thumb drive?

   RW:        No.

   SAG:       Did you plan on putting anything into the thumb drive?

   RW:        No. I mean, if I was really lazy, probably my resume, which had just




                      SECRET//NQFORN          UNCLAS SIFIED//FOR OFFICIAL USE ONLY

                                                                                               USAO-08171
       Case ^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 68 of 81
                               SEGRET//NQFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 ,WA\


              been approved, but. No.

   SAG:      Okay.

   SAT:       So other than this-this one document, there was nothing else, either here or
              there-

   RW:       No.

   SAT:       -that you accessed, took out, put on a thumb drive, printed and mailed any of
              that?

   RW:       No.

   SAT:      No? Okay.

   SAG:       Okay, [coughs] Uhm, in regards to the document that you did put out, when you
              did you realize that-the technical capabilities in that article?

   RW:       Sources and methods.

   SAG:      Sources and methods are valuable to adversaries.

   RW:       Yeah.

   SAG:       Did you know that before you printed it off, as you were taking it out?

   RW:       Yes.

   SAG:       Okay. Uhm, did you know that if that got out, that those sources and methods
              could be compromised?

   RW:       If they haven't been already, then yes.


   SAG:       Okay. W-with that in mind, why did you make the decision to send it anyway?

   RW:        [sighs] I had figured that, uhm, I




                     SECRET//NOFQRN           UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                              USAO-08172
       Case ggAT-2173732
File Number: 1:17-cr-00034-JRH-BKE  Document 189-2
                               SEGRET//NQFQRN      Filed 12/18/17 Page
                                                 UNCLASSIFIED//FOR     69 of 81USE ONLY
                                                                    OFFICIAL
Recording Name: 170603_01.WA\


                     that it didn't matter anyway. Uhm, honestly, uh, I just figured that whatever
               we were using had already been compromised, and that this report was just going
               to be like a-one drop in the bucket.

   SAG:        Now, did you know that that            in that report-did you know that that had
               been compromised for a fact?

   RW:         No, I wasn't smart enough to check that out.

   SAG:        Okay. And [sighs] you're-you are aware that sending-that                     does
               not have, uh, authorized access to classified information?

   RW:         I am aware of that.

   SAG:        And you were aware of that at the time that you sent it?

   RW:         I was aware.

   SAG:        Okay.

                [pause]

   SAG:        [sighs] Okay. Is there anything else that you want to tell me about? Say? Talk
               about why?

                [pause]

   RW:         No, it was just. Yeah, just that-that day-that week, it was just too much and
               just sit back and watch it and think, why do I have this job ifI'mjust going to sit
               back and be helpless and, you know,j ust-it wasj ust. [noises] Oops, sorry.
               Uhm, yeah. I just thought that that was the final straw. [IA]




                       SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                   USAO-08173
       Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 70 of 81
File Number:AT-2173732        SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:       [OV] Was there something that-that just kind of [fingers
              snapping] did it?

   SAT:       [cough]

   SAG:      Because you don't seem the type to do this. I-I believe it. I want to believe it.

   RW:       I-Fm-Fm not. I-I'm not. You know, I-I want-I want to go out with our Special
             Forces. That's why I got out of the Air Force. I mean, that's why I'm here in
             Augusta. I wanted my clearance back so I could get a deployment, and it was just
             at a time when I wasn't applying for deployments. I had, you know, seven, eight
             months left of aj ob that didn't mean anything to me because it's Iran, and I'm a
             Pashto linguist. Like, what am I doing translating Farsi? Itjust- itjust - I felt
             really hopeless and, uhm, seeing that infonnation that had been contested back
              and forth back and forth in the public domain for so long, trying to figure out, like,
             with everything else that keeps getting released and keeps getting
              leakedwhy isn't this gettingwhy isn't this out there? Why can't this be




   SAG:       Okay. Were you surprised to see us today?

   RW:       Yeah. Actually, I thought that, [laughs] uh, you were people comingto ask
             about the house, because it's still for lease online. Uh-

   SAG:       [OV] Because you did not seem surprised when we pulled up. [laughs]

   RW:        Oh, God-well, I-I have a resting bitch face, so I was just like, maybe they're
              going to turn around.

   SAT:       [laughs]

   RW:        And then FBI. I was just like, what is going on, you know? And you showed me
              your badge right up, and, uhm, I submitted a security packet yesterday, uh, for my
              clearance on E-QIP. So, uh, that's what I thought it was for. I'm like, why are you
              guys going to question me for my own clearance? But...

   SAG:       Okay.



                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                   USAO-08174
       Case 1:17-cr-00034-JRH-BKE
File Number:g|AT-2173732           Document 189-2 Filed 12/18/17 Page 71 of 81
                              SECRET//NQFQRN    UNCLAS SIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   RW:        Yeah.

   SAG:       [sighs] So.

   RW:        [OV] Guess that's not going to happen.

   SAG:       [sighs] Well, [sighs]

   SAT:       Anything else you can think of? Okay.

   SAG:       Okay. Uhm, what we have to do is we have to do the search.

   RW:        Of course.

   SAG:       Uhm, now you said that, [coughs] I'm sorry. I have a sinus infection, so I
              sound-

   RW:        [OV] It's okay.

   SAG:       -I'm-so I sound awful.

   RW:         [OV] This is the best room to be in with it.

               [noises]

   SAG:


   RW:        Yes.

   SAG:       [OV] Okay.

   RW:        [OV] If it's there.

   SAG:        Do you remember the site from memory?

   RW:        Uhm, it's just                      and ifyou go, scroll down, at the bottom-




   SAG:        [OV] Mm-hm.




                      SECRET//NOFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                              USAO-08175
       Case 1:17-cr-00034-JRH-BKE
File Number:^gAT-2173732           Document
                              SEGRET//N QFQRN189-2 Filed 12/18/17 Page 72 of 81
                                                 UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\


   RW:                      [ because it was closer.

   SAG:       How long did it take you to find it?

   RW:        Uhm, uh-uh, probably like three minutes of scrolling, which probably felt like
              an eternity sitting in my car.

   SAT:       Mm-hmm.

   SAG:       Okay.

   RW:        Yeah.

   SAG:       You said that the document stayed in your car-

   RW:        Yes.

   SAG:       -whole time? Okay. Did you have a-a-where did you get the envelope?

   RW:        Box of envelopes is, uhm, in the backseat of the car, behind the driver's seat. I
              just, uhm, had a bunch of forms I needed to mail out last December, so, uhm,
              they'd been sitting back there since December.

   SAG:       Okay. And the stamps?

   RW:        Stamps. There might be one or two left, but I keep my stamps in my glove box,
              in case I need to mail things out, like bills and stuff.

   SAG:       Okay. In your glove box?

   RW:        In my glove box, yes.

   SAG:       Okay, [sighs] All right. Trying to think if I've got anything else. Uhm-
              The-the search-the guys will continue the search. Uh, they'll search the vehicle
              and the house, and, uh, uhm, and the photograph-they'll photograph everything.
              Uhm, and, uh, you, uh, the search team leader is going to sit down with you and
              go through things that have been seized. Uhm, uh, your passport. Where is that?

   RW:        My passport is-it is either on the trunk in front of the TV or on-in the center
              part of the desk, or in the closet in a camouflage backpack in the top front
              compartment.

   SAG:       Okay.




                      SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY


                                                                                                  USAO-08176
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 73 of 81
                               SECRET//NOFORN UN CLAS SIFIED//F OR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAT:          Yeah.

   RW:           Sorry.

   SAG:          [OV] Reason-

   RW:           [OV] I OCD-I just [UI] these things.

   SAG:          [OV] Okay. Reason-reason I ask is that, uh, you went to

   Belize. RW:   Belize.

   SAG:          Did you meet with anybody in Belize?

   RW:           No. I stayed at a resort. Uhm, a family of four. Uhm, if you have my phone
                 or my computer, you'll see the emails back and forth with the family. And, uhm,
                 they picked me up, took me to the resort and then took me back.

   SAG:          Okay. Uhm, did you include anything in the envelope that you sent toH|



                 [background conversation]

   RW:

   SAG:

   RW:

   SAG:          Okay. So, did you include any notes or anything like

   that? RW:     No.

   SAG:          Okay. Any identifiers?

   RW:           No.

   SAG:          Did you-mm-ps-put in anything that would, uh, give them a way to
                 contact you or that you were traveling to Belize?

   RW:           Absolutely not, no.

   SAG:          Okay. All right. So. [sighs]



                         SECRET//NOFORN         UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                   USAO-08177
       Case^^AT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 74 of 81
                               SECRE-T//NQFORN UN CLAS SIFIED//F OR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\



   UM:         m
               [background conversation]

   SAG:       Do you have any questions for me?

   RW:         So many. Uhm.

   SAG:       Mm-hmm?

   RW:        This-this sounds really bad. Am I going to jail tonight?

   SAT:        [UI]

   SAG:        I don't know the answer to that yet.

   RW:         Okay.

   SAT:        What was your question? Sorry.

   SAG:        [OV] If she's going to jail tonight.

   SAT:        Oh.

   SAG:        Said I don't know the answer to that-

   RW:         [OV] Okay. Of-

   SAG:        -quite yet.

   RW:         [OV] -course the search is going on. Uhm, in any case of that, I do not have
               memorized, uhm, the woman-her name is Cathy-she works at the Augusta
               Humane Society.

   SAT:        Okay.

   RW:         Uhm, she can come and pick up the dog in the case that I, uhm, uhm, am not
               going to be here tonight.

   SAT:        Yeah. Well, let's don't-

   SAG:        [OV] Okay.

   SAT:        Yeah.



                       SEGRET//NQFORN          UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                              USAO-08178
       Case^PAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 75 of 81
                              SEGRET//NOFORN    UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   RW:        [OV] You know, and that's-

   SAT:       [OV] Let's don't get the cart before the horse right now.

   SAG:       [laughs]

   RW:        Okay.

   SAT:       [OV] Okay?

   RW:        [OV] That's-that is my only concem-

   SAT:       [OV] I understand, i-it-

   RW:        [OV] -is getting her-

              [noises]

   SAG:       [OV] Yeah.

   RW:        -and then maybe one more phone call to get the cat covered.

   SAT:       We'll figure that out.

   SAG:       [OV] Well-

   SAT:       [OV] If-if it comes to that, we'll-we'll-

   SAG:       [OV] -if-if that.

   SAT:       [OV] -figure that out.

   SAG:       [OV] And I don't know the answer to that yet. And I'm going to-

   RW:        [OV] Okay.

   SAG:       -ril-we'll-we'll-we'll cross that bridge when we get to it.

   RW:        Okay.

   SAG:       So, uh, [sighs] what else?

   RW:        Well, my green NS A contractor badge is in the front seat of the car where I left it
              yesterday after work. Did not bring it into the house because I was lazy. Uhm, I
              guess I'm not going back to work, uh, on Monday.


                      SECRET//NOFORN          UNCLAS SIFIED//FOR OFFICIAL USE ONLY

                                                                                                     USAO-08179
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 76 of 81
                               SECRET7/N0F0RN UN CLAS SIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:       I don't have anything to do with that.

   RW:        [sighs] Okay.

   SAG:       Uhm, a lot of that might, you know-we'll-we'll figure that out, so.

   RW:        [OV] Yeah. Okay. So.

   SAG:       Is there anything at the-at your desk at work that I should be worried about?

   RW:        I have an Anderson Cooper photo that is signed. It's not legit. Uhm.

   SAT:       [laughs]

   SAG:       [laughs]

   RW:        It's-it-it-he's quite good looking so that is something that you must contend
              with.

   SAG:       The m-the-the-the man cuts a figure, what can you say?

              [barking]

   RW:        Yeah. Uhm, no. However, on my keychain, uhm, I can give you the key to my
              locker. I use the locker directly to the left side of the desk, only the top portion,
              and it is locked, [noise] Uhm, if that is where you are searching, there's a
              grapefruit in there.

   SAT:       There's nothing that shouldn't be-like that we would concerned about?

   RW:        Oh, no. Classified documents? No.

   SAT:       [OV] Yeah, I’m not-

   RW:        [OV] There shouldn't be any reports in there.

   SAT:       [OV] -I'm not worried about a grapefruit or a picture of-

   SAG:       No.

   SAT:       -Anderson Cooper.

   RW:        Okay, [laughs] Uhm, yeah, other than that, there's just a bunch of recycling.




                    SECRET//NOFORN            UNCLASSIFIED//FOR OFFICIAL USE ONLY

                                                                                                      USAO-08180
       Case^gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 77 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 01 ,WA\


              Uhm-

   SAT:       Okay.

   RW:        -and a folder of in-processing documents.

   SAT:       Okay.

   SAG:       Okay, [coughs] Uh, what else you got for me? What other questions?

   RW:        [sighs] Uhm. [pause] I mean, just I told you that I sent a report, so. Yeah. And
              I feel like you're-ifI ask you, like, what's going to happen to me, you're going to
              say thatyoudon'tknow atthispoint, so that's kind ofmy only concern. And my
              ability to keep these two animals alive, uhm.

   SAT:       We're going to take - If-if-if it-if it comes to
              that-

   SAG:       [laughs]

   SAT:       -I promise you-

   RW:        Okay.

   SAT:       [OV] Uh, everybody in this house will take care.

   SAG:       [laughs] [OV] We're-we're not going to do the-

   RW:        Yeah.

   SAT:       Uh, we're not going to leave these animals, I promise you.

   RW:        [OV] Okay.

   SAG:       [OV] No.

   SAT:       And it is-we truly don't know at this point. Uh-uh, you know, he's going to
              have to go talk to some people. We're going to have to make some phone
              calls.

   RW:        Mm-hmm.

   SAT:       And we'll go from there. Uh-uh, I don't know that it's really our decision at this
              point.




                      SECRET//NOFQRN         UN CLAS SIFIED//F OR OFFICIAL USE ONLY

                                                                                                   USAO-08181
       Case|gAT-2173732
File Number: 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 78 of 81
                               SECRET//NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\




   SAG:       It-

   RW:        [OV] Yeah.

   SAT:       [OV] Uhm-

   SAG:       [OV] -and it's not. It's not.

   SAT:       But.

   SAG:       [sniffs]

   RW:        Yeah. All I'm saying is I-I know, uhm, what I did, and so. At that point, I'm
              not thinking about myself anymore, so.

   SAT:       [OV] Right. Well, why don't we, uh, start making some phone calls.

   SAG:       Yeah, [sighs]

   SAT:       So. Give you a break. Ifyou want some more water or something.

   RW:        I would love to use the restroom. How is that going to work?

   SAT:       [OV] Okay.

   SAG:       [OV] Oh. Yeah.

   SAT:       [OV] Let's, uh, let me s—let's see-

   SAG:       [OV] Let's-

   SAT:       [OV] -uh-where we are, ifwe can-

   SAG:       [OV] Here, let me-

   SAT:       -make that happen.

              [noises]

   SAG:       [sighs]

              [background conversation]

   SAG:       We just got to make sure that they're done, out of the bathroom, so we can give
              you privacy.
                                               75

                                       SECRET//NOFQRN        UNCLASSIFIED//FOUO

                                                                                                USAO-08182
  Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 79 of 81
                                      SECRET//NOFORN UNCLAS SIFIED//FOUO
File Number: HH-AT-2173732
Recording Name: 170603_01 .WAV

SAT:        Hey, I'll stay in the bedroom. She can use the restroom.

SAG:        Okay. There's nothing in the, uh, in the restroom as far as weapons?

RW:        There's a nail clipper in the orange bag.

SAT:       Okay.

SAG:       Okay.

SAT:       I think we can, uh-

SAG:       I think that’s okay.

UM:        [laughs]

RW:        Okay.

            [noises]

UM:         They taught us how to deal with those in the Academy when we were.

UM:         And we'll go stand here to the [UI].

UM:        [OV] [UI]

RW:        Yes. Uhm [IA].

UM:        You turn it off?

SAG:        It's still recording. Well.

UM:        [UI] two [UI],

SAG:       Okay.

            [noises]

UM:         The ammo [UI] right next to the [UI].

            [noises]

            [IA background conversation]


                                               76

                                      SECRET//N OF ORN       UNCLASSIFIED//FOUO

                                                                                   USAO-08183
  Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 80 of 81
                                    SECRET//NQFQRN UNCLASSIFIED//FOUO
File Number: ^H-AT-2173732
Recording Name: 170603_01.WAV

            [noises]

            [pause]

UM:        Rock River [PH]. [IA]

            [noises]

            [background conversation]

UM:        Did they take a picture of that?

            [noises]

SAG:       Okay. So for one, uhm, we'll, uh, we have ap-uh, would you like to sit
           down somewhere?

RW:        I'm fine.

SAG:       You're fine?

RW:        Yeah.

SAG:       Okay. Uhm. All right. Uh, obviously been recording. I'm going to, uh-uh-uh.

SAT:       What's up?

SAG:       Going to end the recording.

SAT:       I think so.

SAG:       [OV] And stop the interview.

UM:        I think so.

SAG:       So this is at, uh, five-let's call it 5:17 PM, ceasing recording on June third.

            [end of recording]




                                              77

                                    SECRET//N OF ORN          UNCLASSIFIED//FOUO

                                                                                             USAO-08184
   Case 1:17-cr-00034-JRH-BKE Document 189-2 Filed 12/18/17 Page 81 of 81
                                SECRET//NOFORN UN CLAS SIFIED//F OUO
File Number: ^g-AT-2173732
Recording Name: 170603_01.WAV




                                      78

                                SECRET//NOFORN   UNCLASSIFIED//FOUO

                                                                            USAO-08185
